       Case 2:08-cr-00311-MMD-GWF             Document 386       Filed 01/22/14     Page 1 of 13




 1

 2

 3

 4

 5

 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:08-CR-311-MMD-(GWF)
                                                      )
11 HAGOB PALIKYAN,                                    )
                                                      )
12                         Defendant.                 )
                                                      )
13

14                       THIRD AMENDED FINAL ORDER OF FORFEITURE

15           On March 3, 2011, the United States District Court for the District of Nevada entered a

16 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

17 Code, Section 981(a)(1)(C) and Title 28, United States Code, 2461(c); and Title 21, United States

18 Code, Section 853(p) based upon the plea of guilty by defendant HAGOB PALIKYAN to criminal

19 offenses, forfeiting specific property alleged in the Second Superseding Criminal Indictment and

20 agreed to in the Plea Memorandum and shown by the United States to have a requisite nexus to the

21 offense to which defendant HAGOB PALIKYAN pled guilty. Second Superseding Criminal

22 Indictment, ECF No. 103; Change of Plea Minutes, ECF No. 286; Preliminary Order of Forfeiture,

23 ECF No. 288; Plea Memorandum, ECF No. 289; Amended Final Order of Forfeiture, ECF No. 350;

24 Second Amended Final Order of Forfeiture, ECF No. 372.

25           This Court finds the United States of America published the notice of forfeiture in accordance

26 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively
       Case 2:08-cr-00311-MMD-GWF             Document 386        Filed 01/22/14     Page 2 of 13




 1 from March 8, 2011, through April 6, 2011, further notifying all known third parties by personal

 2 service or by regular mail and certified mail return receipt requested, of their right to petition the

 3 Court. Notice of Filing Proof of Publication, ECF No. 306; Notice of Filing Service of Process, ECF

 4 No. 365.

 5           After a preliminary order of forfeiture was executed by the Court, pertaining to all the seized

 6 items, the United States notified all known and interested parties of the United States’ interest in

 7 forfeited items, including the 2008 black Mercedes-Benz wagon, identified as Item No. “aan” below.

 8 Thereafter, Victoria Berberian made her interest in the car known and on June 10, 2011, the United

 9 States and Victoria Berberian entered into a Stipulation pertaining to the disposition of the Mercedes-

10 Benz vehicle that was filed with this Court on June 10, 2011. Sentencing Minutes, ECF No. 327.

11 Order Granting Stipulation for Return of Property, ECF No. 330.

12           On October 31, 2012, Jon Cestia, Vice President of BMW Financial Services N.A., LLC, was

13 served by certified mail with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing

14 Service of Process, ECF No. 365, p. 2 and 5-57.

15           On October 31, 2012, Ms. Lisa McKinnon, BMW Financial Services N.A., LLC, was served

16 by certified mail with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of

17 Process, ECF No. 365, p. 3 and 5-57.

18           On October 31, 2012, Legal Team, BMW Financial Services N.A., LLC, was served by

19 certified mail with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of

20 Process, ECF No. 365, p. 4-57.

21           On January 17, 2013, BMW Financial Services NA, LLC filed a motion as to Gary

22 Ambartsumyan, a Petition for Declaration of Interest in Seized and Forfeited Property, in regards to a

23 2008 white BMW M5, VIN WBSNB93548CX09044. Sealed Motion, ECF No. 362.

24           On April 30, 2013, the United States filed a proposed Settlement Agreement, Stipulation for

25 Entry of Order of Forfeiture as to BMW Financial Services NA, LLC, and Order. Stipulation, ECF No.

26 366.

                                                       2
       Case 2:08-cr-00311-MMD-GWF             Document 386       Filed 01/22/14       Page 3 of 13




 1           On May 1, 2013, the Court entered an Order granting the Settlement Agreement as to BMW

 2 Financial Services NA, LLC. Order on Stipulation, ECF No. 368.

 3           On August 21, 2013, John G. Stumpf, Chairman, President, and CEO of Wells Fargo and

 4 Company, was served by regular mail with the Preliminary Orders of Forfeiture and the Notice. Notice

 5 of Filing Service of Process – Part I, ECF No. 376 p. 2-55.

 6           On August 21, 2013, CSC – Lawyers Incorporating Service, Agent for Service of Process for

 7 Wells Fargo and Company, was served by regular and certified return receipt mail with the

 8 Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Part I, ECF No.

 9 376-1 p. 1-55.

10           On August 21, 2013, Brian T. Moynihan, President of Bank of America Corporation, was

11 served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture and

12 the Notice. Notice of Filing Service of Process – Part I, ECF No. 376-2 p. 1-55.
13           On August 21, 2013, CT Corporation System, Registered Agent for Bank of America

14 Corporation, was served by regular mail and certified return receipt mail with the Preliminary Orders

15 of Forfeiture and the Notice. Notice of Filing Service of Process – Part I, ECF No. 376-3 p. 1-55.

16           On September 6, 2013, Larry R. Seedig, President of USAA Savings Bank, was personally

17 served with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of Process –

18 Part I, ECF No. 376-4 p. 1-53.

19           On August 21, 2013, The Corporation Trust Company of Nevada, Registered Agent for

20 USAA Savings Bank, was served by regular mail and certified return receipt mail with the Preliminary

21 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Part II, ECF No. 377 p. 2-

22 56.

23           On September 6, 2013, Gordan & Silver, LTD, Registered Agent for Silver State Schools

24 Credit Union, was served personally served with the Preliminary Orders of Forfeiture and the Notice.

25 Notice of Filing Service of Process – Part II, ECF No. 377-2 p. 1-52.

26 . . .

                                                       3
       Case 2:08-cr-00311-MMD-GWF            Document 386        Filed 01/22/14     Page 4 of 13




 1           On August 21, 2013, J. Tyler Haahr, Chairman of the Board, President and CEO of

 2 MetaBank, was served by regular mail and certified return receipt mail with the Preliminary Orders of

 3 Forfeiture and the Notice. Notice of Filing Service of Process – Part II, ECF No. 377-3 p. 1-55.

 4           On August 21, 2013, Michael Corbat, CEO of Citigroup Inc., was served by regular mail with

 5 the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Part II, ECF

 6 No. 377-4 p. 1-55.

 7           On August 21, 2013, C T Corporation System, Registered Agent for Citicorp Inc., was served

 8 by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture and the

 9 Notice. Notice of Filing Service of Process – Part III, ECF No. 378 p. 2-56.

10           On September 6, 2013, Mark Ferrario, President, One Nevada Credit Union, was personally

11 served with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of Process –

12 Part III, ECF No. 378-1 p. 1-52.
13           On September 6, 2013, One Nevada Credit Union c/o President/CEO Mark Ferrario,

14 Registered Agent, was personally served with the Preliminary Orders of Forfeiture and the Notice.

15 Notice of Filing Service of Process – Part III, ECF No. 378-2 p. 1-52.

16           On August 21, 2013, David W. Mooney, President and CEO of Alliant Credit Union, was

17 served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture and

18 the Notice. Notice of Filing Service of Process – Part III, ECF No. 378-3 p. 1-55.

19           On August 21, 2013, Frank M. Mastrangelo, President and COO of The Bancorp Bank, was

20 served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture and

21 the Notice. Notice of Filing Service of Process – Part III, ECF No. 378-4 p. 1-56.

22           On September 3, 2013, Sal Nastasi, President of Bancorp Inc., was personally served with the

23 Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Part IV, ECF

24 No. 379-1 p. 1-52.

25 . . .

26 . . .

                                                       4
       Case 2:08-cr-00311-MMD-GWF            Document 386        Filed 01/22/14     Page 5 of 13




 1           On September 3, 2013, Corporate Service Center, Inc., Registered Agent for Bancorp Inc.,

 2 was personally served with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing

 3 Service of Process – Part IV, ECF No. 379-2 p. 1-52.

 4           On August 21, 2013, Steven R. Gardner, President and CEO of Pacific Premier Bank, was

 5 served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture and

 6 the Notice. Notice of Filing Service of Process – Part IV, ECF No. 379-3 p. 1-55.

 7           On August 21, 2013, C T Corporation System, Agent for Service of Process for Pacific

 8 Premier Bank, was served by regular mail and certified return receipt mail with the Preliminary Orders

 9 of Forfeiture and the Notice. Notice of Filing Service of Process – Part IV, ECF No. 379-4 p. 1-55.

10           On August 21, 2013, Susan C. Frank, President of Desert Schools Federal Credit Union, was

11 served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture and

12 the Notice. Notice of Filing Service of Process – Part V, ECF No. 380 p. 2-56.
13           On August 21, 2013, Becky L. Nilsen, Statutory Agent for Desert Schools Financial Services

14 LLC, was served by regular mail and certified return receipt mail with the Preliminary Orders of

15 Forfeiture and the Notice. Notice of Filing Service of Process – Part V, ECF No. 380-1 p. 1-55.

16           On August 21, 2013, Teresa Halleck, President and CEO of San Diego Country Credit Union,

17 was served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture

18 and the Notice. Notice of Filing Service of Process – Part V, ECF No. 380-2 p. 1-55.

19           On August 21, 2013, Tum Vongsawad, Agent for Service of Process for San Diego Country

20 Credit Union, was served by regular mail and certified return receipt mail with the Preliminary Orders

21 of Forfeiture and the Notice. Notice of Filing Service of Process – Part V, ECF No. 380-3 p. 1-55.

22           On August 21, 2013, Stephen O’Connell, President and CEO of North Island Credit Union,

23 was served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture

24 and the Notice. Notice of Filing Service of Process – Part V, ECF No. 380-4 p. 1-55.

25 . . .

26 . . .

                                                      5
       Case 2:08-cr-00311-MMD-GWF            Document 386          Filed 01/22/14   Page 6 of 13




 1           On August 21, 2013, Angela K. Brill, Agent for Service of Process for North Island Financial

 2 Credit Union, was served by regular mail and certified return receipt mail with the Preliminary Orders

 3 of Forfeiture and the Notice. Notice of Filing Service of Process – Part VI, ECF No. 381 p. 2-56.

 4           On August 21, 2013, Sara Flynn, Registered Agent for Iowa Corporate Holding Company,

 5 LLC, was served by regular mail and certified return receipt mail with the Preliminary Orders of

 6 Forfeiture and the Notice. Notice of Filing Service of Process – Part VI, ECF No. 381-1 p. 1-55.

 7           On August 21, 2013, Masashi Oka, President and CEO of Union Bank, was served by regular

 8 mail and certified return receipt mail with the Preliminary Orders of Forfeiture and the Notice. Notice

 9 of Filing Service of Process – Part VI, ECF No. 381-2 p. 1-55.

10           On August 21, 2013, Registered Agent Solutions, Inc., Agent for Service of Process for

11 UnionBanCal Corp., was served by regular mail and certified return receipt mail with the Preliminary

12 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Part VI, ECF No. 381-3 p.
13 1-55.

14           On August 21, 2013, Carolyn Dwelle, President and CEO of Central Credit Union of Florida,

15 was served by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture

16 and the Notice. Notice of Filing Service of Process – Part VI, ECF No. 381-4 p. 1-55.

17           On August 21, 2013, Richard K. Davis, President and CEO of Bancorp, was served by regular

18 mail and certified return receipt mail with the Preliminary Orders of Forfeiture and the Notice. Notice

19 of Filing Service of Process – Part VII, ECF No. 382 p. 2-56.

20           On August 21, 2013, C T Corporation System Inc., Registered Agent for Bancorp, was served

21 by regular mail and certified return receipt mail with the Preliminary Orders of Forfeiture and the

22 Notice. Notice of Filing Service of Process – Part VII, ECF No. 382-1 p. 1-55.

23           On August 21, 2013, James Dimon, CEO and President of JPMorgan Chase & Co., was

24 served by regular mail with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing

25 Service of Process – Part VII, ECF No. 382-2 p. 1-54.

26 . . .

                                                      6
       Case 2:08-cr-00311-MMD-GWF               Document 386      Filed 01/22/14     Page 7 of 13




 1           On August 21, 2013, C T Corporation System, Department of State Process for JPMorgan

 2 Chase & Co., was served by regular mail with the Preliminary Orders of Forfeiture and the Notice.

 3 Notice of Filing Service of Process – Part VII, ECF No. 382-3 p. 1-54.

 4           This Court finds no other petition was filed herein by or on behalf of any person or entity and

 5 the time for filing such petitions and claims has expired.

 6           This Court finds no petitions are pending with regard to the assets named herein and the time

 7 for presenting such petitions has expired.

 8           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 9 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

10 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

11 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

12 2461(c); Title 18, United States Code, Section 1028A(a)(1) and (c)(4); and Title 21, United States
13 Code, Section 853(n)(7) and (p) and shall be disposed of according to law:

14                 a.      Sony Brown 42" Lcd Tv, S/N 1050106;
15
                   b.      Sony Brown 42" Lcd Tv, S/N 1002050;
16
                   c.      Dell Model 1320 Laser Printer, S/N 35rphf1;
17
                   d.      Dell Model 1850 Laser Printer, S/N H1c34091;
18
                   e.      Acer Laptop, S/N Lxal70x043820001ef2513;
19

20                 f.      Dell Xps Laptop, S/N 5vg3kd1;

21                 g.      Apple Mac Laptop, S/N W8807f5dop1;
22                 h.      Hp Laptop, S/N 2ce7222m6q;
23
                   i.      Mac Book Air, S/N W8813ppuy51;
24
                   j.      Miscellaneous Cards, Cables, Remotes, Controllers, Stands;
25
                   k.      3.5 X Drive, Extend Harddrive, S/N 020851;
26

                                                       7
     Case 2:08-cr-00311-MMD-GWF       Document 386         Filed 01/22/14   Page 8 of 13




              l.    Apple Tv, S/N 6f8182w04cp;
 1
              m.    Wd External Hard Drive, S/N Wxh207674808;
 2

 3            n.    Msr 206 Encoder, S/N A015401;

 4            o.    Psp Portable, S/N Pp865026504-Psp1001;
 5            p.    Psp Portable, S/N At045924040-Psp2001;
 6
              q.    Ipod Touch 16 Bg, S/N 1c80167a/4p;
 7
              r.    Iphone, S/N 5k81880jwh8;
 8
              s.    Iphone, S/N Bcga1241;
 9

10            t.    Iphone, S/N 5k80247kwh8;

11            u.    Iphone, S/N 579ca1241;

12            v.    Sandisk 2 Gb Flashdrive, S/N 2048rb;
13            w.    Sandisk 4 Gb Flashdrive, S/N 4096rb;
14
              x.    Sandisk 1 Gb Flashdrive, S/N 1024rb;
15
              y.    Pny Attache 1 Gb Flashdrive, No S/N;
16
              z.    Logitech Mx Revolution Thumbdrive, S/N 810-000412;
17

18            aa.   Iron Key Thumbdrive, S/N 0140485;

19            ab.   Iron Key Thumbdrive, S/N 0140551;

20            ac.   Dell Xps Tower, S/N 30gzcg1;
21
              ad.   Playstation 3, S/N Ce124062502-Cecha01;
22
              ae.   Playstation 3, S/N Ce514635354-Cechg01;
23
              af.   Xbox 360, S/N 311730682105;
24
              ag.   Xbox 360, No S/N;
25

26            ah.   1 - Xbox 360 Video Game;

                                               8
     Case 2:08-cr-00311-MMD-GWF       Document 386        Filed 01/22/14     Page 9 of 13




              ai.   11 - Playstation 3 Video Games;
 1
              aj.   6 - Psp Games In Case;
 2

 3            ak.   35 - Blue Ray Movies;

 4            al.   Wtj-90a Tipper;
 5            am.   $3,000 Cash (From Gary Ambartsumyan’s room);
 6
              an.   $4900 Cash (From Artur Ambartsumyan’s room);
 7
              ao.   $14,802.63 in Money Gram Money Orders;
 8
              ap.   Mens’ Breitling Bentley Watch, S/N A25362; and
 9

10            aq.   Mens’ Breitling Bentley Watch;

11            ar    counterfeit access device containing unauthorized account information for Visa

12                  debit card account in the name of M.V., account number ending in X-4923;
13            as.   counterfeit access device containing unauthorized account information for Visa
14
                    debit card account in the name of G.V., account ending in X-2319;
15
              at.   counterfeit access device containing unauthorized account information for Visa
16
                    debit card account in the name of C.D., account ending in X-1918;
17

18            au.   counterfeit access device containing unauthorized account information for a

19                  Bank of America Visa debit card account, account ending in X-7119;

20            av.   counterfeit access device containing unauthorized account information for Bank
21
                    of America Visa debit card account in the name of J.R., account ending in X-
22
                    4609;
23
              aw.   counterfeit access device containing unauthorized account information for a
24
                    Bank of America Visa debit card account in the name of B.J., account ending
25

26                  in X-1577;

                                                9
     Case 2:08-cr-00311-MMD-GWF        Document 386       Filed 01/22/14     Page 10 of 13




              ax.    counterfeit access device containing unauthorized account information for a
 1
                     Bank of America Visa debit card account, account ending in X-8491;
 2

 3            ay.    counterfeit access device containing unauthorized account information for Bank

 4                   of America Visa debit card account, account ending in X-6657;
 5            az     counterfeit access device containing unauthorized account information for Bank
 6
                     of America Visa debit card account, account ending in X-9612;
 7
              aaa.   counterfeit access device containing unauthorized account information for Bank
 8
                     of America Visa debit card account in the name of G.S., account ending in X-
 9

10                   2034;

11            aab.   counterfeit access device containing unauthorized account information for Bank

12                   of America Visa debit card account in the name of C.S., account ending in X-
13                   3846;
14
              aac.   counterfeit access device containing unauthorized account information for Bank
15
                     of America Visa debit card account in the name of S.K., account ending in X-
16
                     5010;
17

18            aad.   counterfeit access device containing unauthorized account information for Bank

19                   of America Visa debit card account in the name of E.H., account ending in X-

20                   4275;
21
              aae.   counterfeit access device containing unauthorized account information for Bank
22
                     of America Visa debit card account in the name of B.W., account ending in X-
23
                     7341;
24
              aaf.   counterfeit access device containing unauthorized account information for Bank
25

26                   of America Visa debit card account, account ending in X-3019;

                                                10
       Case 2:08-cr-00311-MMD-GWF              Document 386        Filed 01/22/14      Page 11 of 13




                    aag.    counterfeit access device containing unauthorized account information for Bank
 1
                            of America Visa debit card account in the name of D.R., account ending in X-
 2

 3                          4018;

 4                  aah.    counterfeit access device containing unauthorized account information for Bank
 5                          of America Visa debit card account, account ending in X-7017;
 6
                    aai.    counterfeit access device containing unauthorized account information for Bank
 7
                            of America Visa debit card account, account ending in X-6691;
 8
                    aaj.    counterfeit access device containing unauthorized account information for
 9

10                          Wells Fargo debit card account, number ending in X-4424;

11                  aak.    counterfeit access device containing unauthorized account information for a

12                          Wells Fargo debit card account, account number ending in X-7930;
13                  aal.    counterfeit access device containing unauthorized account information for a
14
                            Wells Fargo debit card account, number ending in X-6110;
15
                    aam.    2008 White BMW M5, VIN WBSNB93548CX09044;
16
                    aan.    2008 Black Mercedes Benz G-500 Wagon, VIN WDCYR49E38X171546;
17

18                  aao.    2006 Black Quad Cab Dodge Dakota Truck, VIN 1D7HA18286J185015; and

19                  aap.    an in personam criminal forfeiture money judgment of $663,089.35 in United

20                          States Currency (“the property”).
21

22
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,
23
     including but not limited to, currency, currency equivalents, certificates of deposit, as well as any
24
     income derived as a result of the United States of America’s management of any property forfeited
25

26 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

                                                         11
      Case 2:08-cr-00311-MMD-GWF              Document 386        Filed 01/22/14     Page 12 of 13




 1          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 2 certified copies to the United States Attorney’s Office.

 3          DATED this _22nd
                         day ofday of January,
                                _______  2014. 2014

 4

 5

 6
                                                  UNITED STATES DISTRICT JUDGE
 7

 8

 9

10

11

12
13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                       12
      Case
       Case2:08-cr-00311-MMD-GWF
             2:08-cr-00311-MMD-GWF Document
                                   Document386  Filed01/17/14
                                            384 Filed 01/22/14 Page
                                                                Page1313
                                                                       ofof
                                                                          1313




 1                                         PROOF OF SERVICE

 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Third Amended Final Order of Forfeiture on January 17,

 4 2014, by the below identified method of service:

 5         CM/ECF:
 6
           Alex R. Kessel                                        Travis E. Shelter
 7         Law Offices of Alex R. Kessel                         Travis E. Shelter, P.C.
           16542 Ventura Blvd.                                   844 East Sahara Ave.
 8         Encino, CA 91436                                      Las Vegas, NV 89104
           kessellaw@sbcglobal.net                               travisshelter@gmail.com
 9         Attorney for Arman Palikyan                           Attorney for Artur Ambartsumyan
10         Donald J. Green                                       Charles E. Kelly
           Law Offices of Donald J. Green                        Charles E. Kelly & Associates
11         4760 S. Pecos Rd. Ste. 103                            706 South Eighth
           Las Vegas, NV 89121                                   Las Vegas, NV 89101
12         crimelv7777@aol.com                                   ceklv@aol.com
           Attorney for Arman Palikyan                           Attorney for Iyad Nazzal
13
           Daniel J. Albregts                                    Gary L. Meyers
14         Daniel J. Albregts, Esq.                              Law Office of Gary L. Meyers
           601 S. 10th St. Ste. 202                              7251 W. Lake Mead Blvd. Ste. 300
15         Las Vegas, NV 89101                                   Las Vegas, NV 89128
           albregts@hotmail.com                                  gmyerslo@aol.com
16         Attorney for Armen Ambartsumyan                       Attorney for Danimyar Dosunkulov
17         David T. Brown                                        James E. Shively
           Brown, Brown & Premsrirut                             Poli & Ball, PLC
18         520 S. 4th St. 2nd Fl.                                311 S. Rainbow Blvd., Ste. 215
           Las Vegas, NV 89101                                   Las Vegas, NV 89146
19         master@brownlawlv.com                                 shively@poliball.com
           Attorney for Gary Ambartsumyan                        Attorney for BMV Financial Services
20                                                               Na, LLC
                                                                 Interested Party
21

22                                                     /s/ Ray Southwick
                                                       Ray Southwick
23                                                     Forfeiture Support Associates Paralegal
24

25

26

                                                      13
